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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

              Plaintiffs,

        v.                                    Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC., et al.,

              Defendants.



             DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                    MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

        Founded over a century ago, with a rich history in print, radio, and television, Defendant

 Cox’s many businesses include an Internet Service Provider (ISP) that provides Internet access to

 diverse subscribers, from individuals, to hospitals, to schools and other businesses. Cox’s ISP acts

 as a vital pipeline connecting users to the internet, but does not create or post content, and cannot

 act as the Internet’s police department. Yet here, the 53 remaining Plaintiffs in this case, compris-

 ing both “Label Plaintiffs,” which claim copyrights to sound recordings, and “Publisher Plaintiffs,”

 which claim rights to musical compositions, have sued Cox for alleged copyright infringement

 committed by Cox Internet subscribers from February 1, 2013 to November 26, 2014 (the “Claims

 Period”). 1 Plaintiffs’ claims suffer from a fundamental and fatal flaw: a distinct paucity of proof.

 They simply cannot prove their case.

        During the Claims Period, the Recording Industry Association of America (“RIAA”), act-

 ing as the agent of the Label Plaintiffs, sent Cox notices alleging copyright infringement by Cox

 subscribers. The RIAA relied on a vendor, MarkMonitor, to scan the Internet and find online peer-

 to-peer network users (called “peers”) who appeared to be making copies of Plaintiffs’ works

 available for download. When MarkMonitor encountered such a file,



       . MarkMonitor would then seek out the peers offering to share the file, and download from

 each peer basic information about the file (so-called “metadata”). If the peer had an IP address

 registered to a Cox subscriber, MarkMonitor would notify Cox that the peer/subscriber was in-




 1
  Two Plaintiff groups (the Sony/ATV and EMI Plaintiff groups, defined below) only have claims
 for Aug. 1, 2013 to Nov. 26, 2014. ECF 20. For purposes of this motion only, Cox defines the
 “Claims Period” as the Feb. 1, 2013 to Nov. 26, 2014 period that covers all claims of all Plaintiffs.
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 fringing one of Plaintiffs’ works. But



 There is absolutely no evidence, however,

                                                                    , and no evidence that any of the

 files being offered for sharing by Cox subscribers were actually copied by anyone. Based solely

 on this chain of                                       MarkMonitor created, and the RIAA sent, no-

 tices alleging copyright infringement to Cox.

         Each notice claimed that a Cox subscriber, identified only by an IP address, had infringed

 a sound recording. Although the RIAA sent notices identifying just 1,998 unique sound recordings,

 Plaintiffs seek to hold Cox contributorily and vicariously liable for alleged infringements of nearly

 10,500 separate copyrighted works: 7,057 sound recordings and 3,421 musical compositions.

         In short, Plaintiffs seek damages for works they cannot prove were infringed, based on

 notices that did not identify fully 80% of those works. Moreover, they have no evidence that Cox

 knew about the infringement, obtained any direct financial benefit from it, or had the practical

 ability to prevent it, such that it could be secondarily liable.

         Cox moves for summary judgment on five grounds: (a) Plaintiffs lack sufficient evidence

 to prove direct infringement; (b) because the RIAA Notices failed to identify the vast majority of

 sound recordings or any of the musical compositions allegedly infringed, Cox cannot be second-

 arily liable for infringement of those unidentified works; (c) Plaintiffs cannot prove that any Cox

 Business subscriber was an infringer, or hold Cox indirectly liable for their alleged actions;

 (d) Plaintiffs have no evidence that Cox derived a direct financial benefit from the alleged infringe-

 ment, and so cannot be held vicariously liable; and (e) under the plain language of the Copyright

 Act, Plaintiffs are entitled to only one award of statutory damages for each album registered as a



                                                    2
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 single work, and one award for a sound recording and the musical composition it embodies.

                             STATEMENT OF UNDISPUTED FACTS

           A.   Cox’s Service

           1.   Defendants Cox Communications, Inc. and CoxCom LLC (collectively, “Cox”) are

 Internet Service Providers (“ISPs”) that provide Internet access service to both residential and Cox

 Business subscribers. Declaration of Thomas Kearney (“Kearney Dec.”) ¶ 18.a & Ex. 17; ¶ 54 &

 Ex. 43.

           2.   Cox offers Internet service for a flat monthly fee. Cox does not monitor or control

 the information its subscribers transmit or download, and the flat monthly fees Cox charges to its

 users do not depend on what its subscribers use the service for. Kearney Dec. ¶ 12.a & Ex. 11;

 ¶ 16.a & Ex. 15; ¶ 11.a & Ex. 10; ¶ 10.a & Ex. 9; ¶ 55 & Ex. 44-51.

           3.   During the Claims Period, Cox did not charge a fee to users who exceeded the

 amount of data allotted by their subscription. Kearney Dec. ¶ 13.a, b & Ex. 12.

           4.   During the Claims Period, individual users who accessed the Internet through a Cox

 Business customer’s service did not pay Cox directly to do so. Kearney Dec. ¶ 54.c & Ex. 43.

           B.   Plaintiffs

           5.   Plaintiffs include 16 record companies (“Label Plaintiffs”), ECF 136, 2 and 37 mu-

 sic publishers (“Publisher Plaintiffs”) ECF 136. 3


 2
   The “Label Plaintiffs” are: Arista Music; Arista Records LLC; LaFace Records LLC; Provident
 Label Group, LLC; Sony Music Entertainment; Sony Music Entertainment US Latin; Volcano
 Entertainment III, LLC; and Zomba Recordings LLC (“Sony Music Entertainment” Plaintiff
 group); UMG Recordings, Inc. and Capitol Records, LLC (“Universal Music Group” Plaintiff
 group); and Atlantic Recording Corporation; Bad Boy Records LLC; Elektra Entertainment Group
 Inc.; Fueled by Ramen LLC; Roadrunner Records, Inc.; and Warner Bros. Records Inc. (“Warner
 Music Group” Plaintiff group).
 3
   The “Publisher Plaintiffs” are: Sony/ATV Music Publishing LLC; EMI Al Gallico Music Corp.;
 EMI Algee Music Corp.; EMI April Music Inc.; EMI Blackwood Inc.; Colgems-EMI Music, Inc.;


                                                  3
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         6.      Plaintiffs’ claims in this litigation are restricted to the Claims Period.

         7.      The Label Plaintiffs allege infringement of 7,057 sound recordings. ECF 136, 172-

 1 (FAC & Amd. Ex. A). Ex. A refers to a work’s title as the “track.” Each sound recording listed

 on Ex. A has a unique title-and-artist combination. Id.

         8.      The Publisher Plaintiffs allege infringement of 3,421 musical compositions. ECF

 136, 172-2 (FAC & Amd. Ex. B). Ex. B refers to a work’s title as the “track.” Ex. B lists multiple

 works with the same title, and does not list the artist for any title. Id.

         9.      6,777 of the 7,057 sound recordings alleged in this case were registered as albums. 4

 6,766 of the 7,057 sound recordings were registered as “works made for hire.” Kearney Dec. ¶ 35-

 36 & Ex.33, 34; Ex. 20; Ex. 21; ¶ 9.a & Ex. 8; ¶ 7.a, b & Ex. 6. Of the work-for-hire sound record-

 ings, 6,443 are registered as 1,113 albums (i.e., the registrations that cover these works all cover

 multiple sound recordings), and 280 are registered as singles (i.e., the registrations cover single

 sound recordings.) Id. Ex. 33.




 EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music; EMI Consortium Songs, Inc.,
 individually and d/b/a EMI Longitude Music; EMI Feist Catalog Inc.; EMI Miller Catalog Inc.;
 EMI Mills Music, Inc.; EMI Unart Catalog Inc.; EMI U Catalog Inc.; Jobete Music Co. Inc.; Stone
 Agate Music (a division of Jobete Music Co., Inc.); Screen Gems-EMI Music Inc.; and Stone
 Diamond Music Corp. (“Sony/ATV and EMI” Plaintiff group); Music Corporation of America,
 Inc. dba Universal Music Corp.; Polygram Publishing, Inc.; Songs of Universal, Inc.; Universal
 Music - MGB NA LLC; Universal Music - Z Tunes LLC; Universal Music Corp.; Universal Music
 Publishing AB; Universal Music Publishing Limited; Universal Music Publishing MGB Limited;
 Universal Music Publishing, Inc.; Universal/Island Music Limited; and Universal/MCA Music
 Publishing Pty. Limited (“Universal Music Publishing Group” Plaintiff group); and Warner/Chap-
 pell Music, Inc.; Warner-Tamerlane Publishing Corp.; WB Music Corp.; W.B.M. Music Corp.;
 Unichappell Music Inc.; Rightsong Music Inc.; Cotillion Music, Inc.; and Intersong U.S.A., Inc.
 (“Warner/Chappell Music” Plaintiff group).
 4
   Many of the works-in-suit were initially registered by third parties, and Plaintiffs bear the burden
 of proving that they own the rights to those works. For purposes of this motion only, without
 waiver and unless otherwise stated, Cox does not challenge Plaintiffs’ ownership of such works.

                                                     4
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         C.     The RIAA and MarkMonitor

         10.    The RIAA was the authorized agent of the Label Plaintiffs for purposes of submit-

  ting notices of alleged infringement to Cox during the Claims Period (“RIAA Notices”). Kearney

  Dec. ¶ 5.a & Ex. 4; ¶ 7.c & Ex. 6; ¶ 14.a & Ex. 13. Each RIAA Notice claimed to “have identified

  a user on [Cox’s] network reproducing or distributing an unauthorized copy of a copyrighted sound

  recording.” E.g., Kearney Dec. ¶ 30-33 & Ex. 29-32. The RIAA sent Cox approximately 163,148

  Notices during the Claims Period. Kearney Dec. ¶ 27-29 & Ex. 26.

         11.    The RIAA hired MarkMonitor to monitor the Internet for apparent infringements

  of sound recordings, including those claimed by the Label Plaintiffs here. Kearney Dec. ¶ 23-25

  & Ex. 22-24; ¶ 48 & Ex. 40.



                                       Id. ¶ 14.b & Ex. 13; ¶ 19.a & Ex. 18.

         12.

                                            Kearney Dec. ¶ 19.a & Ex. 18.

         13.



                          Kearney Dec. ¶ 19.a & Ex. 18. Importantly, there is no evidence that this

  initial download was obtained from a particular IP address assigned to a Cox subscriber.

         14.

                                                                               . Kearney Dec. ¶ 4.a, b

  & Ex. 3; ¶ 19.b & Ex. 18.




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        15.




        16.




                     Id. ¶ 8.b, c & Ex. 7.

        17.




                                             6
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  Kearney Dec. ¶ 3.a & Ex. 2.

         18.




         19.




                                See Kearney Dec. ¶ 19.c & Ex. 18.



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         20.




                            Kearney Dec. ¶ 26.g & Ex. 25.

         21.




                                                     Kearney Dec. ¶ 14.d & Ex. 13, ¶ 3.c & Ex. 2.

         22.    When two peers contact each other, there is an initial period when one peer can—

  but is not required to—download content without first offering any content to the other peer in

  exchange. Kearney Dec. ¶ 19.d & Ex. 18. Thus, merely because a peer is a member of a P2P net-

  work, that does not mean it has already either uploaded or downloaded any content.



                                    Kearney Dec. ¶ 2.c & Ex. 1; ¶ 26.c & Ex. 25.

         23.



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                                             Kearney Dec. ¶ 14.f & Ex. 13; ¶ 15.a &

  Ex. 14.

            24.




                                               Kearney Dec. ¶ 23.c & Ex. 22; ¶ 24.b &

  Ex. 23.

            25.




  Kearney Dec. ¶ 26.h & Ex. 25.

            26.




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        27.




        28.




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        29.




        30.




        31.




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        32.




        33.




        34.




        35.




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        36.




        37.




        38.



        39.




        40.




        D.    The RIAA Notices



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          41.     The RIAA Notices sent to Cox encoded data about alleged infringements in a stand-

  ardized, machine-readable format known as ACNS which provides information in delimited fields.

  Kearney Dec. ¶ 14.j & Ex. 13; ¶ 49.c & Ex. 41.

          42.     The RIAA Notices identified allegedly infringing content files that MarkMonitor

  claimed to have detected on a peer’s computer, by providing ACNS fields with metadata about the

  content file, including: its name (“<FileName>”); its size (“<FileSize>”); the type of content the

  file contained (“<Type>”); the date and time when the content file was allegedly detected

  (“<TimeStamp>”); and a hash value corresponding to a dot-torrent file allegedly associated with

  the particular content file (“<Hash>”). Kearney Dec. ¶ 27-28 & Ex. 26; ¶ 49.c & Ex. 41; Ex. 29-

  32; Ex. 13.

          43.     The metadata does not contain any portion of the content file to which it refers. Nor

  can any content be derived from the metadata. And because the filename of the allegedly infringing

  file is arbitrary, it cannot be relied on to be informative or accurate as to the file’s actual contents.

  Kearney Dec. ¶ 31-32 & Ex. 30, 31.

          44.     The RIAA Notices identified allegedly infringed works by their Title and Artist,

  encoded in ACNS fields <Title> and <Artist>. Kearney Dec. ¶¶ 27-28 & Ex. 26; Ex. 27-28; Ex. 29-

  32.

          45.     The RIAA Notices did not provide copyright registration numbers for works alleg-

  edly infringed; did not indicate whether the work was a single song, an album, or multiple albums

  or songs; and did not indicate the authors of any musical composition embodied in a work, or the

  owner of any musical composition copyright. Kearney Dec. ¶¶ 27-28 & Ex. 26; Ex. 29-32.

          46.     The RIAA Notices sent during the Claims Period identified                      title-and-

  artist combinations. Kearney Dec. ¶ 29 & Ex. 26, 27-28.



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         47.



         48.     When Cox offered to identify a sampling of Cox subscribers who had been the

  subject of notices alleging infringement, Plaintiffs declined the offer. Kearney Dec. ¶ 51. At Plain-

  tiffs’ request, Cox did subsequently identify thousands of Cox Business subscribers who had re-

  ceived such notices, but Plaintiffs did nothing with that information. Id. Plaintiffs did not attempt

  to obtain discovery from any Cox subscriber in this litigation. Id. ¶ 51-52.

                                             ARGUMENT

  I.     Cox Is Entitled to Summary Judgment of No Direct Infringement.

         “Secondary liability for copyright infringement does not exist in the absence of direct in-

  fringement by a third party.” Softech Worldwide, LLC v. Internet Tech. Broad. Corp., 761 F. Supp.

  2d 367, 375 (E.D. Va. 2011) (Cacheris, J.) (quotation omitted). Plaintiffs’ secondary liability

  claims rest on alleged direct infringement by Cox subscribers. But Plaintiffs cannot prove that any

  Cox subscriber directly infringed any copyrighted work. First, the MarkMonitor records on which

  Plaintiffs rely are unreliable and incomplete: the evidence from which they were derived was spo-

  liated. Second, those records, even if admissible, would not establish that Cox subscribers in-

  fringed Plaintiffs’ reproduction or distribution rights. Cox is therefore entitled to summary judg-

  ment on all of Plaintiffs’ secondary liability claims.

         A.      Plaintiffs cannot prove that the files shared through Cox’s subscribers’ IP ad-
                 dresses were copies of the works in suit.

         The direct infringement for which Plaintiffs seek to hold Cox liable is alleged infringement

  by Cox subscribers. Plaintiffs’ proof (they claim) is that their agent, MarkMonitor, determined that

  Cox’s subscribers were making copies of works-in-suit available for sharing. But all MarkMonitor

  “determined” was that a device connected to a Cox subscriber’s IP address had transmitted


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  metadata indicating that the device had a particular file (or a portion thereof) available for down-

  load. MarkMonitor did not determine that the connected device was owned or used by a Cox sub-

  scriber, and did not confirm that the file in question actually existed. Rather, MarkMonitor con-

  cluded that




                                                                                   . SUF 15, 17-21. 5

           The Audible Magic fingerprinting process is thus the linchpin of Plaintiffs’ direct infringe-

  ment claims. Indeed, an operational audit of the MarkMonitor system determined



                                           SUF 25. But the evidence on which Plaintiffs rely to establish

  this “crucial” link is fatally flawed.

           On August 14, Cox filed its Motion for Discovery Sanctions and to Preclude Plaintiff’s

  Use of MarkMonitor Evidence. ECF 237. The MarkMonitor “evidence” at issue in the motion is a

  spreadsheet (the “MarkMonitor Spreadsheet”) purporting to show that the files that were the sub-

  ject of notices to Cox were files that Audible Magic had matched to its fingerprint database. That

  spreadsheet is the sole evidence that Plaintiffs offer to establish this critical fact. SUF 15. Cox’s

  motion seeks to preclude the MarkMonitor Spreadsheet because it is flawed in several ways.


  5
      As discussed more fully in Section I.B. below,
                                                                            . Had they done so, there
  would be no need to match the files’ hash values to the hash values of fingerprinted works. Plain-
  tiffs could have simply provided the downloaded files to show that they were copies of the works
  in question. Since

                                                                  t.

                                                      16
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         First,

                                                                                         SUF 15,

  17-20. This is curious, because



                                                       . Kearney Dec. ¶ 8 & Ex. 7. However,




                                                                                         SUF 16;

  Kearney Dec. ¶ 27 & Ex. 26. Thus, the MarkMonitor Spreadsheet was the only evidence showing




         The problem is that this conclusion cannot be tested against the actual Audible Magic re-

  sults sent to MarkMonitor during the relevant period because




        . 6 In addition, MarkMonitor’s witness testified that



  6




                                                  17
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                                     SUF 27. That data similarly indicates that the MarkMonitor sum-

  mary of Audible Magic’s testing was deeply unreliable. 7

            This history of data destruction makes the MarkMonitor Spreadsheet inadmissible for two

  reasons. First, as a summary of the Audible Magic findings, it cannot be admitted unless the un-

  derlying Audible Magic data that it purports to summarize is produced. Fed. R. Evid. 1003. Be-

  cause that evidence does not exist, the predicate for admissibility cannot be established. Second,

                                                                justifies preclusion of the spreadsheet

  because the evidence was spoliated. MarkMonitor was on notice of its duty to retain this evidence,

                                                                      . SUF 24, 29.

            The spoliation makes it impossible to establish the reliability of the MarkMonitor Spread-

  sheet. And the contemporaneous—and even the ex post facto—evidence of the Audible Magic

  testing is inconsistent with what the spreadsheet purports to show. Under comparable circum-

  stances, courts routinely preclude similar evidence. See, e.g., Arista Records LLC v. Usenet.com,

  Inc., 608 F. Supp. 2d 409, 443 (S.D.N.Y. 2009); M&T Mortg. Corp. v. Miller, No. CV 2002-5410

  (NG)(MDG), 2007 U.S. Dist. LEXIS 60610, at *38 (E.D.N.Y. Aug. 17, 2007).

            In addition, the author of the MarkMonitor Spreadsheet testified




  7
      These ex post facto records exist for




                                                    18
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  Kearney Dec. ¶ 8 & Ex. 7. He also testified




                                                                                   The Spreadsheet is

  not probative on the only issue it purports to prove, and can only serve to confuse the jury.

         If the Court grants Cox’s sanctions motion, 8 there will be no basis for Plaintiffs’ claim that

  the works-in-suit were identified on devices associated with Cox’s subscribers’ IP addresses, and

  Cox respectfully submits that the Court should enter summary judgment as to all Plaintiffs’ claims.

         B.      Plaintiffs’ evidence shows, at most, “making available” of their alleged works,
                 which is insufficient to prove either reproduction or distribution.

         Plaintiffs’ also cannot prove that Cox subscribers directly infringed because they “repro-

  duced and distributed” Plaintiffs’ works “using Internet access and services provided by Cox[,]”

  ECF 136 ¶¶ 101, 110; see 17 U.S.C. § 106(1), 106(3), because Plaintiffs have no evidence of re-

  production or distribution by any Cox subscriber. The Court should therefore grant Cox summary

  judgment as to both of Plaintiffs’ theories of direct infringement.

                 1.      Plaintiffs cannot prove that any Cox subscribers directly infringed
                         Plaintiffs’ § 106(1) reproduction right.

         To hold Cox indirectly liable for a subscriber’s direct infringement of the reproduction

  right, Plaintiffs must prove that the subscriber actually made an infringing copy of a work at issue

  using Cox’s network. Towler v. Sayles, 76 F.3d 579, 581 (4th Cir. 1996); Columbia Pictures In-

  dus., Inc. v. Fung, 710 F.3d 1020, 1034 (9th Cir. 2013).


  8
   Briefing on Cox’s sanctions motion concludes on Sept. 20, and the motion will be heard by
  Magistrate Judge Anderson on Sept. 27, three weeks before the summary judgment hearing.
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         But Plaintiffs have no evidence that any Cox subscriber made unauthorized copies of any

  of the works-in-suit, because there is no evidence showing how any Cox subscribers obtained those

  works. The MarkMonitor system cannot determine whether the purported copies of Plaintiffs’

  works on devices associated with Cox subscribers’ IP addresses were initially purchased from

  iTunes, legally uploaded from a purchased CD, or obtained from another legal source. Indeed,

  there is no evidence that the MarkMonitor system can or does detect whether a given peer is down-

  loading data, as opposed to merely making data (obtained from whatever source) available for

  possible download by others. Plaintiffs’ own expert carefully circumscribed her opinions to a claim

  that the MarkMonitor monitoring system detects the “distribution” of works, and offered no opin-

  ion that MarkMonitor detects downloading by a subscriber. SUF 24. And Plaintiffs made no at-

  tempt to obtain discovery from any Cox subscriber on this issue. SUF 49.

         Thus, even assuming that Plaintiffs’ detection system was reasonably accurate, the most

  they can show is that some Cox subscribers may have possessed copies, or partial copies, of certain

  works. Absent evidence showing that Cox subscribers illegally copied works-in-suit, Plaintiffs’

  claim for direct infringement of their reproduction right fails. 9

                 2.      Plaintiffs cannot prove that any Cox subscribers infringed Plaintiffs’
                         § 106(3) distribution right.

         Plaintiffs also seek to hold Cox secondarily liable for infringement of their § 106(3) distri-

  bution rights, claiming that Cox subscribers made copies of Plaintiffs’ works available download.

  As this Court has held, though, “making available” is not an infringing act. Rather, “to establish a

  direct infringement of its distribution right, [a plaintiff] must show an actual dissemination of a


  9
    Even if Plaintiffs could show that Cox subscribers obtained copies of Plaintiffs’ works without
  authorization, because there is no evidence that the copies were obtained using Cox’s network,
  there would still be no basis to hold Cox secondarily liable for the hypothetical infringements.


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  copyrighted work.” BMG v. Cox, 149 F. Supp. 3d at 670 [BMG I] (discussing cases). 10

         Here, Plaintiffs cannot prove “actual dissemination” of any work to anyone—including

  their agent, MarkMonitor. See, e.g., BMG I at 663 (“[plaintiff’s agent] itself downloaded ... full

  copies of BMG’s works using Cox’s service”); Capitol Records, Inc. v. Thomas, 579 F. Supp. 2d

  1210, 1216 (D. Minn. 2008) (stating that “Plaintiffs’ agent, MediaSentry, copied songs” at issue

  and that “distribution to MediaSentry can form the basis of an infringement claim”) (emphases

  added). Plaintiffs’ purported evidence of distribution rests entirely on 175,968 “Evidence Pack-

  ages,” each of which purportedly records an instance where MarkMonitor’s software detected

  metadata purporting to show the presence of a file at IP addresses assigned to Cox subscribers,

  and matched that metadata to other metadata, which (according to MarkMonitor’s records) was

  associated with one of Plaintiffs’ works. SUF 14, 17-19, 24, 35. But MarkMonitor’s metadata

  records derived from reference copies of content files that MarkMonitor had downloaded previ-

  ously, from a different source. 11 SUF 13, 17-18. Those records are not evidence that the file asso-

  ciated with the metadata was distributed by the Cox subscriber to anyone.

         Moreover, the MarkMonitor system was




  10
    See, e.g., Atlantic Recording Corp. v. Howell, 554 F. Supp. 2d 976, 983 (D. Ariz. 2008) (“Merely
  making an unauthorized copy of a copyrighted work available to the public does not violate a
  copyright holder's exclusive right of distribution.”); UMG Recordings, Inc. v. Hummer Winblad
  Venture Partners (In re Napster, Inc.), 377 F. Supp. 2d 796, 802 (N.D. Cal. 2005) (“merely listing
  a copyrighted musical composition or sound recording in an index of available files falls short of
  satisfying these ‘actual dissemination’ or ‘actual transfer’ standards.”)
  11
    MarkMonitor obtained these reference copies in an entirely separate process, and there is no
  evidence that it obtained them (or any part of them) from a Cox subscriber. SUF 13.


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                                                         SUF 35, 37-38. 12) Nor is there any evidence

  that any Cox subscriber actually provided a copy of the work to anyone else. SUF 22. Without

  such evidence, there is no evidence that any Cox subscriber “distributed” any copyrighted work,

  and thus no evidence of direct infringement. 13 The Court should thus grant summary judgment to

  Cox of no infringement as to the 7,057 sound recordings and 3,421 musical compositions at issue.

  II.    Cox Is Entitled to Summary Judgment of No Infringement for Claims Where Plain-
         tiffs’ Notices Failed to Identify Works-in-Suit.

         To hold a defendant liable for contributory infringement, a plaintiff must prove that the

  defendant had sufficient knowledge of the specific acts of infringement to have contributed to or

  induced them. BMG I at 663; BMG v. Cox, 881 F.3d 293, 310 (4th Cir. 2018) (“BMG II”). Here,

  the Label Plaintiffs failed to notify Cox of more than two-thirds of the alleged sound recording

  infringements, and the Publisher Plaintiffs failed to notify Cox of any infringements. And with

  respect to alleged infringement by Cox Business subscribers, the RIAA Notices failed to identify

  the alleged infringers with sufficient particularity to place Cox on notice of even the alleged in-

  fringements. Without knowledge of what was supposedly being infringed or who was infringing

  it, Cox cannot be held contributorily liable. Because Cox lacked such knowledge, Plaintiffs also




          SUF 39.
  13
    To the extent Plaintiffs argue that the BitTorrent protocol requires an exchange of data between
  peers, it is undisputed that there is no such requirement during at least the initial contact period
  “where a peer can begin a download without first offering pieces of content.” SUF 22. Because

                       they also lack evidence that any data was exchanged after this initial period.

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  cannot show that Cox had the requisite ability to supervise those infringements, so Plaintiffs’ vi-

  carious liability claims also fail.

            A.      The Label Plaintiffs failed to notify Cox of the majority of alleged infringe-
                    ments.

            Although Plaintiffs seek damages for alleged direct infringements of 7,057 sound record-

  ings and 3,421 compositions, the RIAA Notices for recordings sent during the Claims Period con-

  tain only 1,998 unique Title and Artist combinations. SUF 46. Unlike the BMG litigation, where

  there was no dispute that the notices at issue provided Title and Artist information sufficient to

  identify each of the works-in-suit, in this case the notices do not actually identify a majority of the

  asserted works. Because Cox lacked actual knowledge of specific infringement of these unidenti-

  fied works, it cannot be held liable.

            Although the RIAA Notices explicitly identify Title and Author for only 1,998 unique

  works, SUF 46, Plaintiffs’ expert has opined that



                                 Kearney Dec. ¶ 6.a & Ex. 5; Ex. 16.




                                                            . 14 Such torrents can, and often do, contain

  multiple works. 15 But because each notice specified only one particular work (Artist/Title pair),



  14
       Plaintiffs’ expert explains
                                                                                                     An
  “Info Hash” is a unique identifier of a BitTorrent metadata file. Id. ¶ 15.c & Ex. 14.
  15
     For example, Plaintiffs sent notices for one sound recording by “Weird Al Yankovic,” a song
  titled “Another One Rides the Bus.” Kearney Dec. ¶¶ 30 & Ex. 29; ¶ 38. Following discovery, it
  appears that the torrent associated with that track also contained other works never identified in


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  the opaque reference to an info hash in the notice did not on its face disclose that other works

  might have been on the subscriber’s computer. 16 To understand that in fact multiple other works

  might be at issue, Cox would have to (1) guess that the RIAA intended to give notice about works

  other than the one actually identified; (2) go online and, using the hash value from the notice,

  locate a copy of the metadata file that the hash referred to; and (3) use the metadata file to download

  a copy of the shared file (infringing Plaintiff’s copyright in the process) to identify the entirety of

  its contents. The task is so complex that Plaintiffs had to hire an expert to do it. Kearney Dec. ¶ 6.a

  & Ex. 5; ¶ 17, 17.b & Ex. 16. His report, which runs to 48 pages,



                                                                      17
                                                                           Such a detailed and extremely

  burdensome investigation and analysis of the hundreds of thousands of notices sent by Plaintiffs

  would have been inconceivable, not only because of the sheer size of the task, but because neces-

  sary information about copyright ownership is non-public and unavailable to Cox. In any event, a

  defendant is not required to do extensive research and analysis to determine whether infringement

  is occurring. See, e.g., VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 746 (9th Cir. 2019) (no vicar-

  ious liability where “ferreting out claimed infringement … was beyond hunting for a needle in a




  notices. Id. ¶ 40 & Ex. 34; ¶ 30 & Ex. 29. As a result, Plaintiffs seek to hold Cox liable for in-
  fringement of a staggering 117 sound recordings and 7 musical compositions, based on their notice
  identifying this single work. Id.
  16
     Even if the RIAA Notices were interpreted as giving notice of an entire album by identifying a
  single song with the same name—i.e., if the single song also happened to be the title of an album—
  the notices still fail to identify the vast majority of works at issue. Based on Cox’s review of Plain-
  tiffs’ notices, it appears that even if a song is taken to refer to an album of the same name—although
  Plaintiffs’ notices gave no hint that was the case—the notices still identified only approximately
  2,288 tracks. Kearney Dec. ¶ 29.
  17
     These notices were also insufficient to give Cox notice under the Digital Millennium Copyright
  Act, since “to be effective … a notification of claimed infringement must … include: [i]dentifica-
  tion of the copyrighted work claimed to have been infringed[.]” 17 U.S.C. § 512(c)(3)(A)(ii).
                                                    24
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  haystack”).

         Nor is Cox vicariously liable for alleged infringements by its subscribers unless it had, in

  addition to “a legal right to stop or limit the directly infringing conduct … the practical ability to

  do so.” Zillow, 918 F.3d 723, 746 (9th Cir. 2019) (citation omitted, emphasis added). Cox was not

  on notice that unnamed, unidentified sound recordings were being infringed, and Plaintiffs cannot

  show that Cox had the practical ability to supervise infringing acts of which it was unaware.

         The RIAA and its agent MarkMonitor knew which additional works were implicated by

  the single work they chose to identify. They could easily have notified Cox of the additional works

  for which they now belatedly seek windfall statutory damages. They chose not to do so. Accord-

  ingly, the Court should grant summary judgment in Cox’s favor as to the alleged sound recordings

  and musical compositions that were not identified in the RIAA Notices.

         B.      The Publisher Plaintiffs failed to notify Cox about any infringements.

         It is undisputed that the 36 Publisher Plaintiffs, who collectively assert infringement of

  3,421 copyrighted musical compositions, never sent any infringement notices to Cox. Instead, they

  rely on notices that the RIAA sent on behalf of someone else—the Label Plaintiffs. But those

  notices identified only sound recordings, and were insufficient to notify Cox of infringements of

  musical compositions.

         “Sound recordings and their underlying musical compositions are separate works with their

  own distinct copyrights.” Newton v. Diamond, 204 F. Supp. 2d 1244, 1248-1249 (C.D. Cal. 2002).

  The law is clear that without actual knowledge of, or willful blindness to, specific infringements

  of identified copyrighted works, Cox cannot be held contributorily liable. BMG II at 307. Because

  the RIAA Notices lacked sufficient information for Cox to identify musical composition copy-

  rights, the Publisher Plaintiffs’ contributory infringement claims fail.



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                 1.     There is no evidence that Cox possessed actual knowledge of infringe-
                        ment of any musical composition, and constructive knowledge is insuf-
                        ficient as a matter of law.

          If a defendant “did not have appropriately specific information necessary to take simple

  measures to remedy the violation,” it cannot be held liable for contributory infringement. VHT,

  918 F.3d at 745. The RIAA Notices provided no reasonable way for Cox to determine which, if

  any, music compositions might have been infringed when an allegedly infringing sound recording

  was copied, depriving Cox of the ability to “take simple measures” to remedy any infringement.

          Indeed, the RIAA Notices claimed only to “have identified a user on [Cox’s] network re-

  producing or distributing an unauthorized copy of a copyrighted sound recording.” Kearney Dec.

  Ex. 32 (sample RIAA Notice) (emphasis added). And, while the notices are in a standardized,

  machine-readable format that purports to provide the title of the sound recording allegedly in-

  fringed, nothing in them purports to identify any underlying composition. SUF 41, 42, 43.




  Kearney Dec. Ex. 32 (detail of exemplary notice).

          Further, the notices stated that the RIAA was “authorized to act on behalf of its member

  companies in matters involving the infringement of their sound recordings[.]” See, e.g., id. The

  RIAA Notices do not claim that the RIAA was authorized to send notices on behalf of the Publisher

  Plaintiffs,                  SUF 47.



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         Nor are the RIAA Notices sufficient to implicitly identify any musical compositions un-

  derlying a given sound recording. Determining which, if any, musical compositions may underlie

  a particular sound recording is no simple matter: it may require extensive research on a work-by-

  work basis, and may not even be possible without information solely in the possession of Plaintiffs.

  Among other possibilities:

         •   a sound recording may implicate a single musical composition copyright; multiple
             composition copyrights; 18 or none at all. 19

         •   a sound recording may or may not have the same title as the underlying composition(s);

         •   a sound recording may include samples from dozens or even hundreds—or more—of
             musical compositions, none of which share the title of the sound recording; and

         •   a sound recording may have a common title—such as “Motivation” in the example
             pictured above—that is shared by multiple distinct musical compositions registered
             with the Copyright Office. 20 Plaintiffs’ list of allegedly infringed sound recordings in
             this case illustrates the problem, with multiple alleged works having generic titles like
             “Intro” (6 tracks) or commonplace titles like “Home” (4 tracks). 21

         In short, the RIAA Notices do not provide a basis for the Publisher Plaintiffs to belatedly

  “pile on” infringement claims, long after the fact, and seek an additional $513 million in statutory


  18
    See, e.g., ECF 172-1 entry 6999 (“Medley: Sexy Ladies / Let Me Talk to You (Prelude)”); id.
  entry 2943 (“Close Encounters of the Third Kind/When You Wish Upon a Star Medley”)
  19
    Several of Plaintiff’s alleged works are readily identifiable as recorded versions of public do-
  main songs, including two versions of “Silent Night” (ECF 172-1 entries 301 and 5181), a medley
  of “Deck the Halls” and Silent Night” (id. entry 362), and a medley of Deck the Halls and The
  Twelve Days of Christmas (id. entry 441).
  20
     In the example pictured above, Plaintiffs’ notice alleges that a sound recording titled “Motiva-
  tion,” performed by artist Kelly Rowland, was infringed by a file named “Kelly Rowland – Moti-
  vation (feat. Lil Wayne) [2011-Single] [MJN].” A search of Copyright Office records online shows
  29 registrations for musical works titled “Motivation” since 1978, none of them authored by Kelly
  Rowland. Kearney Dec. ¶ 33.
  21
      Plaintiffs’ Complaint lists 6 different sound recordings and 4 different musical compositions
  with the title “Intro,” as well as 3 sound recordings and 1 musical composition called “Untitled,”
  and 5 different sound recordings and 2 different musical compositions titled “Home.” ECF 172-1,
  172-2. Plaintiffs sent notices to Cox identifying 4 different title-and-artist combinations with the
  title “Home,” but by different artists. Plaintiffs_00286430.

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  damages for 3,421 musical compositions for which they completely failed to provide notice. The

  law does not require Cox to undertake the complex analysis that would have been required to

  identify musical composition copyrights that may have been infringed by a particular sound re-

  cording. See Luvdarts, LLC, 710 F.3d at 1073 (rejecting notices as insufficient that “do not identify

  which of the[] titles were infringed, who infringed them, or when the infringement occurred”).

         Plaintiffs’ evidence is insufficient to establish Cox’s liability for contributory infringement

  of musical compositions, see BMG II at 308 and n.4; the Court should grant summary judgment.

         C.      There is no evidence that Cox was willfully blind to infringement of sound
                 recordings not identified in any notice, or any musical compositions.

         A finding of willful blindness “requires that the infringing party (1) subjectively believed

  that infringement was likely occurring on their networks and that they (2) took deliberate actions

  to avoid learning about the infringement.” Zillow., 918 F.3d at 748 (internal quotation omitted).

  The willful blindness standard generally does not impose an “affirmative duty to monitor” or in-

  vestigate potential infringement on a recipient of copyright notices. Viacom Int’l, Inc. v. YouTube,

  Inc., 676 F.3d 19, 25 (2d Cir. 2012). Even if there were any evidence that Cox held the required

  “subjective belief” as to infringement of sound recordings not identified in any notice, there is

  certainly no evidence that Cox “took deliberate actions to avoid learning about the infringe-

  ment[s]” for which Plaintiffs provided no notice whatsoever.

         For the same reasons, Plaintiffs have no evidence that Cox subjectively believed that in-

  fringement of any of Plaintiffs’ alleged musical composition copyrights “was likely occurring on”

  its network. That is particularly true because the RIAA Notices stated that they pertained only to

  sound recordings, were sent only on behalf of the Label Plaintiffs, and provided no reasonable way

  for Cox to determine which, if any, music compositions might also have been infringed. Again,

  even if there were any evidence of such a subjective belief, there is certainly no evidence that Cox


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  “took deliberate actions to avoid learning about the infringement” of the Publisher Plaintiffs’ mu-

  sical compositions. They could have sent their own notices to Cox, or the RIAA could have ob-

  tained authorization to send notices on their behalf. Either course of conduct could have notified

  Cox that particular additional copyrights were at issue. Because they failed to do either, Cox was

  not willfully blind to specific infringements of any musical compositions in suit.

  III.   Plaintiffs failed to provide sufficient notice of alleged infringement by Cox Business
         subscribers.

         Certain of Plaintiffs’ claims relate to Cox’s liability for alleged infringement by users of

  networks supported by Cox’s “Cox Business” broadband services. Cox Business subscribers in-

  clude large and small organizations whose networks may be used by dozens, hundreds, or thou-

  sands of end users. But Plaintiffs’ evidence only identifies alleged infringers by the IP address of

  the Cox Business subscriber, which is shared by every end user on the business’ network. As such,

  identification of a Cox Business IP Address where infringement is allegedly occurring is not suf-

  ficient to identify anyone who actually engaged in alleged infringement. That failure of evidence

  dooms these claims.

         In the only decision to have considered the issue, the Ninth Circuit held that a plaintiff

  cannot make a claim of direct or contributory copyright infringement against a broadband sub-

  scriber merely by identifying the IP address of a business where some unidentified person has

  engaged in infringing activity. Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142 (9th Cir. 2018).

  A fortiori, if a business cannot be held liable for copyright infringement merely because some

  unidentified person is infringing on the network located at the business’s IP address, then such

  evidence is insufficient to prove contributory infringement by an ISP that merely provides broad-

  band services to the IP address registered to that business.




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         A.      Evidence that infringement has occurred at a Cox Business subscriber’s IP
                 address is insufficient to support liability for infringement by the Cox Business
                 subscriber.

         Proving the predicate act of direct infringement necessarily requires proof that a particular

  person did the infringing. See, e.g., Cobbler, 901 F.3d at 1147 (to prove direct infringement, a

  plaintiff “must show that … the defendant himself violated” the copyright statute) With respect to

  alleged infringement by Cox Business subscribers, Plaintiffs have no such proof.

         The only evidence of any Cox Business subscriber’s direct infringement consists of “Evi-

  dence Packages” purporting to show that acts of infringement occurred at an IP address registered

  to a Cox Business subscriber. But Cox Business subscribers are (unsurprisingly) businesses. They

  operate networks which, in turn, provide internet access to multiple end users. Kearney Dec. ¶ 54

  & Ex. 53. All of a Cox Business subscriber’s end users access the internet using the same IP ad-

  dress—the one assigned to the business subscriber. Id. If the subscriber is (for example) a public

  university, then that single IP address would be associated with thousands of individual students,

  faculty, visitors, and employees. Id.

         Plaintiffs’ inability to prove which user of a particular Cox Business subscriber’s IP address

  purportedly infringed a particular copyright is fatal to their direct infringement claims. In Cobbler

  the copyright owner traced apparent infringement to a particular IP address assigned to defendant

  Gonzales, whose account provided Internet service for residents of and visitors to the adult foster

  care home he operated. Id. at 1145. The plaintiff sought to hold Gonzales liable for direct infringe-

  ment “by copying and distributing works himself,” or in the alternative, for contributory infringe-

  ment because he had failed to secure his internet connection. Id.

         The district court dismissed the direct infringement claim on the pleadings, and the Ninth

  Circuit affirmed. The court explained that “[t]o establish a claim of copyright infringement,” a

  plaintiff “must show that … the defendant himself violated one or more of the plaintiff’s exclusive
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  rights under the Copyright Act.” Id. at 1147 (emphasis added; internal quotation omitted). Plaintiff

  could not make that showing, because the defendant’s IP address “did not permit identification of

  a specific party that is likely to be the infringer.” Id. (quotation omitted). Because of this inherent

  uncertainty, the Ninth Circuit held that “an allegation that a defendant is the registered subscriber

  of an Internet Protocol (‘IP’) address associated with infringing activity” is insufficient to state a

  claim for direct infringement against the subscriber. Cobbler, 901 F.3d 1142. Notwithstanding the

  more than 400 infringement notices received by the Cobbler defendant, the Ninth Circuit also

  concluded that, under the circumstances, a claim for contributory infringement on his part was not

  sustainable, because “a bare allegation that Gonzales failed to police his internet service … does

  not sufficiently link Gonzales to the alleged infringement.” Id. at 1147-1148.

         The defects that were fatal to the direct and contributory infringement claims in Cobbler

  are equally fatal here. Cox Business customers, like the nursing home operator in Cobbler, provide

  Internet service to their employees, customers, guests, and visitors. Kearney Dec. ¶ 54.a, b, c &

  Ex. 43. Here, as in Cobbler, there is no evidence establishing a connection between any act of

  infringement and the Cox Business subscriber itself (beyond a generalized allegation that the sub-

  scriber failed to police its network), nor is there any evidence connecting any alleged act of in-

  fringement to any particular user of the subscriber’s IP address. For precisely the reasons cited by

  the Ninth Circuit in Cobbler, mere evidences that a Cox Business subscriber’s IP address has been

  used by someone to engage in infringement is insufficient to show that either any end-user or the

  business subscriber itself is a direct or contributory infringer. Absent proof of direct infringement

  by someone, no claim of contributory infringement by Cox can be sustained.

         B.      Cox cannot be held contributorily liable for the infringing conduct of unspec-
                 ified individuals using the networks of its business subscribers.

         Of necessity, if the Cox Business subscribers cannot be held liable for direct infringement


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  occurring on the networks that they administer, Cox cannot be held liable for that behavior merely

  because it connects the networks of Cox Business subscribers to the internet. In BMG, the Fourth

  Circuit specifically precluded expansion of the contributory infringement doctrine to Cox in its

  role as an internet service provider merely because it had “generalized knowledge …that infringe-

  ment was occurring somewhere on its network.” BMG II at 311. Such knowledge “is exactly what

  falls short” of the kind necessary to prove contributory infringement. Id.

  IV.    Cox Is Entitled to Summary Judgment of No Vicarious Liability.

         Vicarious liability is “[a] variant on respondeat superior,” by which a defendant may be

  held “accountable for third-party infringement if he (1) possessed the right and ability to supervise

  the infringing activity; and (2) possessed an obvious and direct financial interest in the exploited

  copyrighted materials.” BMG I at 673 (quotation omitted). Plaintiffs cannot prevail on their vicar-

  ious liability claims here, because they cannot provide evidence that Cox had a “direct financial

  interest” in the alleged infringement. And regarding alleged infringement by Cox Business sub-

  scribers, the undisputed evidence establishes that Cox lacked the ability to supervise or control it.

         A.      Plaintiffs have no evidence that Cox derives a direct financial benefit from any
                 alleged infringements of Plaintiffs’ works by Cox’s subscribers.

         Plaintiffs cannot show that Cox has a direct financial interest in the alleged infringements

  of Plaintiffs’ works. The necessary “direct financial interest” requires proof of a “causal relation-

  ship” between “the infringing activities at issue in th[e] case and a direct financial benefit to the

  defendant.” BMG I at 675-76 (emphasis in original) (quotation omitted).

         Plaintiffs cannot establish any such “causal relationship.” It is undisputed that the only




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  revenue Cox received from its subscribers was a monthly subscription fee. 22 While Cox offered

  different levels of service to meet the needs of its subscribers, and charged different flat rates for

  the different levels, Cox’s revenues from these flat-rate subscriptions did not depend on the manner

  or purpose for which its subscribers used the service. 23 SUF 2; Kearney Dec. ¶ 55 & Ex. 44-51. In

  general, a flat fee-for-subscription revenue model is not sufficient to establish the necessary causal

  relationship with infringement by subscribers. As this Court explained in BMG, “flat periodic pay-

  ments for service . . . ordinarily would not constitute receiving a financial benefit directly attribut-

  able to the infringing activity.” BMG I at 676 (quotation omitted). The Court went on to explain

  that because “Cox provides a content-neutral commercial service that makes a wide selection of

  services and activities available to its subscribers … [and] charges the same flat monthly fees to

  its users whether they use Cox's service for infringing or non-infringing purposes … the relevant

  inquiry … is whether the infringing activity constitutes a draw for [Cox’s] subscribers, not just an

  added benefit.” BMG I at 676 (emphasis added) (citations and internal quotation marks omitted).

  Without evidence that “some portion of [Cox’s] fees is generated from subscribers that are drawn

  to Cox’s service at least in part because of the infringing activity alleged in this case … the requi-

  site causal connection between the benefit and the infringing activity is not established.” Id. (em-

  phasis added). See also, e.g., Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 673-74 (9th Cir.




  22
    Plaintiffs sought, and Cox produced, revenue reports for the Cox subscribers who were accused
  by Plaintiffs of copyright infringement during the Claims Period. These reports demonstrate that
  Cox charged a flat fee for service, which was unaffected by the alleged infringements of Plaintiffs’
  works. SUF 2; Kearney Dec. ¶ 55 & Ex. 44-51. The reports also show that Cox did not receive
  ongoing revenues from subscribers Cox terminated for copyright infringement. Id.
  23
    In addition to offering different connection speeds, some of Cox’s offerings during the Claims
  Period let subscribers use a certain amount of data a month. It is undisputed that during the Claims
  Period Cox did not charge a fee to users who used more than that amount. SUF 3.


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  2017); 24 Ellison, 357 F.3d at 1079; UMG Recordings, Inc. v. Grande Communs. Networks, LLC,

  2018 U.S. Dist. LEXIS 160492, at *9 (W.D. Tex. Sep. 20, 2018) (“Plaintiffs contend the infringing

  subscribers infringed the Copyrighted Sound Recordings [is] by use of the internet and the Bit-

  Torrent protocol, which one can access through any ISP. Again, the draw must be something more

  than this to state a vicarious infringement claim.”). 25

         There is no evidence showing that any subscribers were drawn to Cox’s service by the

  availability of unauthorized copies of Plaintiffs’ works, or for that matter the availability of any

  infringing works. Nor that the availability of Plaintiffs’ music on Cox’s network enhances the

  value of Cox’s services to subscribers, that anyone subscribed to Cox’s ISP service in order to

  obtain unauthorized copies of Plaintiffs’ works, or that anyone chose Cox’s service over another

  because of a perceived ability to obtain copyrighted works over Cox’s network. This case is thus

  distinguishable from BMG, in which the plaintiff offered a customer survey purporting to show

  that for some fraction of Cox subscribers, the ability to obtain free music from certain websites

  was one reason (among many) they subscribed to Cox’s service. BMG I at 676. While recognizing

  that BMG’s disputed survey evidence was “hardly overwhelming,” the Court nevertheless found



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     As the Ninth Circuit noted, finding that an ability to infringe copyrights in general constitutes a
  “draw” for purposes of vicarious liability would be “difficult to reconcile with Article III's standing
  requirements,” since “a rule [that] would allow cases to be built on the rights of owners and the
  actions of users not before the court . . . runs counter to the requirement that there be a ‘causal
  connection between the injury and the conduct complained of[.]’” Giganews, 847 F.3d at 674 (ci-
  tations omitted).
  25
    The requirement of a “causal connection” between infringement and financial benefit dooms
  Plaintiffs’ theory that Cox benefited from infringement by not terminating accused subscribers and
  continuing to receive revenue for its ISP service. See Complaint ¶ 9. And Plaintiffs have zero
  evidence that Cox’s supposed failure to terminate alleged infringers was a draw to its service.
  Indeed, the only available evidence is to the contrary: that Cox, virtually alone among major ISPs,
  did terminate repeat infringers. Kearney Dec. ¶ 54.d, e & Ex. 43. This is, if anything, the exact
  opposite of a “draw.”


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  that it was sufficient to present a genuine fact question for the jury. 26 Id. Here, because Plaintiffs

  lack any comparable evidence—or indeed any evidence at all—to support their essentially identi-

  cal claim, vicarious liability is not a “close question.” See id. No reasonable jury would hold oth-

  erwise. The Court should grant Cox summary judgment on Plaintiffs’ vicarious liability claim.

         B.      Plaintiffs have no evidence that that Cox derived a direct financial benefit
                 from alleged infringement by Cox Business subscribers’ end users

         The infirmities discussed above are fatal to Plaintiffs’ vicarious liability claims, including

  those based on Cox’s relationships with both residential and Cox Business subscribers. But Plain-

  tiffs’ claims with respect to the Cox Business subscribers have multiple additional infirmities.

         First, Plaintiffs cannot prove that there is any difference in the revenues Cox receives from

  Cox Business subscribers accused of infringement, and those not so accused. Second, there is no

  evidence that any of the Cox Business subscribers are themselves direct infringers, and Plaintiffs

  have no evidence showing that any Cox Business subscriber met the criteria for contributory in-

  fringement or vicarious liability, either. There is no dispute that individual “end users” do not pay

  Cox directly for their use of the Cox Business customer’s system, and Cox does not directly derive

  any revenue from them, nor derive any benefit from any alleged infringing activities. Plaintiffs

  therefore cannot show the essential “causal relationship” of Cox’s revenues from Cox Business

  subscribers to “‘the infringing activities at issue in th[e] case.” BMG I at 675-76. Plaintiffs have

  no evidence whatsoever that any Cox Business subscribers were “drawn” to subscribe to Cox’s

  service so that their end users could infringe Plaintiffs’ works. Nor is there evidence, nor any

  plausible argument, that Cox Business subscribers are likely to purchase more expensive services




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    Notably, the jury ultimately found Cox not liable for vicarious infringement, a finding that was
  not challenged on appeal. BMG v. Cox, 199 F. Supp. 3d 958, 969 (E.D. Va. 2016).

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  so that their end users can obtain unauthorized copies of Plaintiffs’ works.

         C.      There is no evidence that Cox had the practical ability to supervise the alleged
                 infringements by Cox Business subscribers’ end users.

         Plaintiffs’ vicarious liability claims against Cox Business subscribers also fail because Cox

  lacked the “practical ability” to supervise the alleged infringement by those users. Vicarious lia-

  bility requires “both a legal right to stop or limit the directly infringing conduct, as well as the

  practical ability to do so.” Zillow, 918 F.3d at 746 (citation omitted). Under this standard, a de-

  fendant is not required to do extensive research to “ferret[] out” and stop infringement when it had

  only generalized notice that it was occurring. See id. (no vicarious liability where “ferreting out

  claimed infringement … was beyond hunting for a needle in a haystack”).

         The alleged infringement on Cox Business networks was perpetrated by unidentified indi-

  viduals with whom Cox had no relationship. Cox had no way to “stop or limit the direct infringing

  conduct.” It is entitled to summary judgment of no vicarious liability for that conduct.

  V.     Cox Is Entitled to Summary Judgment Limiting Certain of Plaintiffs’ Statutory Dam-
         ages Claims to One Award per Work.

         The Copyright Act provides for “an award of statutory damages for all infringements in-

  volved in the action, with respect to any one work[.]” 17 U.S.C. § 504(c)(1) (emphasis added). For

  the purposes of calculating statutory damages, “all the parts of a compilation … constitute one

  work.” Id. (emphasis added). It is undisputed that many of the Label Plaintiffs’ sound recordings

  were registered as compilations: not only were they registered together as albums, but the record

  also shows they were first released as albums. They were also registered as works made for hire,

  a designation available, by definition, only to compilations. 17 U.S.C. § 101.

         A.      Plaintiffs are limited to one award of statutory damages for each album regis-
                 tered as a single work.

         It is undisputed that the Label Plaintiffs registered and first issued 6,777 of the works-in-

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  suit as albums—not as individual tracks or “singles.” SUF 9. “An album falls within the Act’s

  expansive definition of compilation … [and] [b]ased on a plain reading of the statute, therefore,

  infringement of an album should result in only one statutory damage award.” Bryant, 603 F.3d at

  140-41. It does not matter that songs issued by the Label Plaintiffs on albums may also have been

  subsequently made available individually, such that they arguably have economic value independ-

  ent of the album. The Second Circuit addressed this “independent economic value” principle in

  Bryant and squarely rejected it, explaining that because the Copyright Act “specifically states that

  all parts of a compilation must be treated as one work for the purpose of calculating statutory

  damages … [it] provides no exception for a part of a compilation that has independent economic

  value, and the Court will not create such an exception.” Bryant, 603 F.3d at 142; see also, e.g.,

  Yellow Pages Photos, Inc. v. Ziplocal, LP, 795 F.3d 1255, 1281 (11th Cir. 2015) (“[I]f the dispos-

  itive factor for whether a work has independent economic value is whether it can conceivably be

  sold on its own, Congress’s express mandate in 17 U.S.C. § 504(c)(1) that ‘all parts of a compila-

  tion [are to] constitute one work would be meaningless”). Indeed, the Copyright Act’s definition

  of “collective work”—“a periodical issue, anthology, or encyclopedia, in which a number of con-

  tributions, constituting separate and independent works in themselves, are assembled into a col-

  lective whole”—presupposes that each individual work in the collection has independent value.

  Id. (quoting 17 U.S.C. § 101). Allowing Plaintiffs to evade the statutory damages limitation by

  claiming independent economic value therefore makes no sense within the statutory scheme.

         Moreover, there is no dispute that Plaintiffs’ albums at issue here were registered as “works

  made for hire”—a designation that, by statute, is only available when all of the sound recordings

  covered by the single registration are parts of a single “compilation.”

                 A “work made for hire” is—



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                          (1) a work prepared by an employee within the scope of his or her employ-
                          ment; or

                          (2) a work specially ordered or commissioned for use as a contribution to a
                          collective work, as a part of a motion picture or other audiovisual work, as
                          a translation, as a supplementary work, as a compilation, as an instructional
                          text, as a test, as answer material for a test, or as an atlas[.]

  17 U.S.C. § 101. This form of registration provides a significant commercial advantage by estab-

  lishing a corporate registrant as the work’s “author” for purposes of copyright law, and precluding

  the work’s human creators from asserting any rights in the future. Plaintiffs registered these as

  works-for-hire for precisely this reason. 27 See Kearney Dec. ¶ 9.b & Ex. 8. Plaintiffs can’t have it

  both ways, seeking to protect their ownership of the works under one legal theory, then seeking

  windfall statutory damages on a different, incompatible theory.

          It is undisputed that the Label Plaintiffs registered 6,766 of the 7,057 sound recordings at

  issue as “works made for hire.” SUF 9. Of those, 6,496 are covered by 1,158 “work made for hire”

  registrations for multiple sound recordings (i.e., albums), and 237 are covered by registrations for

  a single sound recording (singles). Id. Plaintiffs do not claim—and lack evidence to show—that

  any of the recording artists were their employees. Nor can they show that any sound recordings at

  issue, and registered collectively as a work made for hire as an album, were “specially ordered or

  commissioned” as a part of an audiovisual work, nor as a translation, supplementary work, instruc-

  tional text, test, answer material for a test, or atlas. That leaves only a “contribution to a collective

  work” or “compilation.” Because “[t]he term ‘compilation’ includes collective works[,]” 17 U.S.C.




  27
    Plaintiffs could have obtained ownership of the works by having artists transfer their copyrights
  to Plaintiffs, but then the artists or their heirs would have had the right to terminate the transfer
  after a period of time. 17 U.S.C. § 203. This termination provision does not apply to works made
  for hire, however. Id. Since there is no other plausible reason why Plaintiffs would seek work-for-
  hire registrations for these works, it is plain that Plaintiffs chose this form of registration so as not
  to risk losing a valuable asset at some future time.

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  § 101, Plaintiffs’ election of work-for-hire registrations for these sound recordings means that, by

  operation of law, they cannot be anything but compilations. Moreover, Plaintiffs’ own copyright

  registrations “constitute prima facie evidence of … the facts stated in the certificate[s]” in “judicial

  proceedings.” 17 U.S.C. § 410(c). There can be no reasonable dispute that Plaintiffs intentionally

  registered these sound recordings as compilations. They are bound by their choice.

          Whether these sound recordings are deemed part of compilations because they are albums,

  or because they are registered as works made for hire—they are both—Plaintiffs are limited by the

  plain language of the Copyright Act to at most one statutory damages award for each such copy-

  right registration. See, e.g., Xoom, Inc. v. Imageline, Inc., 323 F.3d 279, 285 (4th Cir. 2003), ab-

  rogated on other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010); Sullivan v.

  Flora, Inc., Nos. 17-2241, 18-2534, 2019 U.S. App. LEXIS 24928, at *11 (7th Cir. Aug. 21, 2019).

          B.      Plaintiffs are not entitled to separate statutory damages awards for a sound
                  recording and the music composition it embodies.

          Courts routinely hold that a sound recording and the music composition it embodies are a

  single work for purposes of calculating statutory damages. See, e.g., EMI Christian Music Grp.,

  Inc. v. MP3tunes, LLC, 844 F.3d 79, 94 (2d Cir. 2016); Capitol Records, Inc. v. MP3Tunes, LLC,

  28 F. Supp. 3d 190, 191–92 (S.D.N.Y. 2014).

          In Capitol Records, the court held that when the defendants “infringed the copyright cov-

  ering a sound recording and music composition for the same song, they infringed only one work

  because the infringement was directed at the sound recording and the music composition was not

  exploited separately.” Capitol Records, Inc., 28 F. Supp. at 192; see also Spooner v. EEN, Inc.,

  No. 08 Civ. 262, 2010 WL 1930239, at *5 (D. Me. May 11, 2010). As the Second Circuit has

  explained, “[a] plain reading of the Copyright Act’s text supports” a finding “that the plaintiffs

  could recover only one statutory damages award for a musical composition and its corresponding


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  sound recording, even where the composition and the recording were owned by separate plain-

  tiffs.” EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 94-95 (2d Cir. 2016). 28 A

  contrary rule—that infringement of a single sound recording could entitle multiple plaintiffs to

  multiple statutory damages awards—could easily lead to absurd, unfair, and unpredictable results,

  as a single act of infringement could expose a defendant to one, two, or hundreds of separate stat-

  utory damages awards. In the age of sampling, this is no mere theoretical possibility.

           Here, Plaintiffs allege that Cox’s subscribers downloaded sound recordings—not musical

  compositions, such as song lyrics or sheet music. Moreover, Plaintiffs concede that the great ma-

  jority of the Publisher Plaintiffs’ musical compositions—2,556 of them—are embodied in alleg-

  edly infringed sound recordings that are also at issue. 29 Plaintiffs are therefore not entitled to sep-

  arate awards of statutory damages for (at least) these 2,556 musical compositions, as they are part

  of the same “work” as the asserted sound recording. 30

           For these reasons, Cox respectfully requests that the Court grant this motion.

  Dated: August 30, 2019

                                                         Respectfully submitted,

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  28
     See also id. at 95 (quoting with approval Patry on Copyright § 22:186: “Sound recordings are
  defined in section 101 as a species of derivative work of the underlying musical composition, and,
  as such, both fall within the one work, one award rule for statutory damages that only award[s] for
  infringement of both works … regardless of whether there are different owners.”).
  29
       Kearney Dec. ¶ 53 & Ex. 42.
  30
     The number of “works” for purposes of calculating statutory damages is further reduced because
  sound recordings were either included on albums registered as “works made for hire” or otherwise
  issued as parts of an album. See supra § V.A.

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 30, 2019, the foregoing was filed and served electroni-
  cally by the Court’s CM/ECF system upon all registered users.


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